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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 AMERICAN AIRLINES, INC., a                    §
 Delaware Corporation,                         §
 Plaintiff,                                    §
                                               §
 v.                                            §
                                               §         Civil Action No. 4:23-cv-00781-O
                                               §
 U.S.A. GATEWAY, a Texas                       §
                                               §
 Corporation,                                  §
                                               §
                                               §
 Defendant.                                    §
                                               §
                                               §

                  DEFENDANT U.S.A GATEWAY’S ORIGINAL ANSWER



        U.S.A. Gateway (“GTT”) by its attorneys, files its Original Answer to Plaintiff American

Airlines, Inc. (“American”)’s Complaint (“Complaint”) and respectfully shows as follows:

                             I.   NATURE OF THE ACTION

        1.     GTT admits it is an air travel consolidator and has business relationship with

American that is governed by several agreements between them. GTT refers to its agreements with

American for the substance of the obligations. GTT admits that it has a yearly turnover upwards of

two billion dollars. GTT admits that it signs up with travel agencies as sub-agents and has business

relationships with those sub-agents that are governed by agreements. GTT refers to its agreements

with sub-agents for the substance of the obligations. Except as expressly admitted, GTT denies the

remaining allegations.

        2.     GTT denies the allegations.


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       3.      GTT denies the allegations that characterizes its business relationship with sub-agents

as “schemes.” GTT admits the business relationships between GTT and sub-agents exist and refers

to the governing agreements for their contents. GTT lacks knowledge or information sufficient to

form a belief about the truth of unidentified sub-agents diverting consumers who wish to contact

American directly. GTT denies the remaining allegations.

       4.      GTT denies the allegations.

       5.      GTT denies the allegations.

       6.      Paragraph 6 states a legal conclusion and does not require a response from GTT. To

the extent a response is required, GTT denies the allegations, except that GTT admits agreements

between GTT and American exist and refers to documents for the substance of the obligations.

       7.      Paragraph 7 states a legal conclusion and does not require a response from GTT. To

the extent a response is required, GTT denies the allegations, except that GTT lacks knowledge or

information sufficient to form a belief about the truth of the allegations about its sub-agents’ actions.

       8.      Paragraph 8 states a legal conclusion and does not require a response from GTT. To

the extent a response is required, GTT denies the allegations in, except that GTT lacks knowledge or

information sufficient to form a belief about the truth of the allegations in Paragraph 7 of the

Complaint about its sub-agents’ actions.

       9.      Paragraph 9 does not require an admission or denial; however, to the extent an

admission or denial is required, GTT denies.

                                        II.   PARTIES

       10.     GTT admits the allegations.

       11.     GTT admits the allegations.


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                                 III.     JURISDICTION

       12.     GTT denies that the Court has subject matter jurisdiction by federal question

jurisdiction, because Plaintiff’s trademark claims should be dismissed according to GTT’s partial

motion to dismiss. Otherwise, admitted.

       13.     GTT admits the allegations.

       14.     GTT admits the allegations.

       15.     GTT admits the allegations.

                           IV.    FACTUAL ALLEGATIONS

       A.      American’s Investment in Operations

       16.     GTT lacks knowledge or information sufficient to form a belief about the truth of the

allegations.

       17.     GTT lacks knowledge or information sufficient to form a belief about the truth of the

allegations.

       18.     GTT lacks knowledge or information sufficient to form a belief about the truth of the

allegations.

       19.     GTT lacks knowledge or information sufficient to form a belief about the truth of the

allegations.

       20.     GTT lacks knowledge or information sufficient to form a belief about the truth of the

allegations.


       B.      GTT’s Contractual Relationship with American

       21.     GTT admits the allegations.

       22.     GTT admits that the documents referenced exist and refers to the document for their


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contents; otherwise denied.

       23.     GTT admits that the documents referenced exist and refers to the document for their

contents; otherwise denied.

       24.     GTT admits that it acts as American’s agent as referenced in the documents and refers

to the documents for their contents; otherwise denied.

       25.     GTT admits it is an airline consolidator and has a business relationship with American

that is governed by certain agreements. GTT refers to agreements between GTT and American for

its contents with regard to GTT’s rights and obligations; otherwise denied.

       26.     GTT admits that it is ARC accredited and the document referenced exists and refers

to the document for its contents; otherwise denied.

       27.     GTT admits that it is an IATA agency. GTT lacks knowledge or information sufficient

to form a belief about the truth of the remaining allegations.

       28.     GTT denies, except GTT admits the contents of Page 1 of the Addendum.

       29.     GTT denies, except GTT admits the contents of Section 3.3 of the ARC ARA.

       30.     GTT denies, except GTT admits Section 8(b) named “American Data” exists in the

Addendum and refers to the document for its content.

       31.     GTT denies, except GTT admits the contents of Section 9(a) of the Addendum.

       32.     GTT denies, except GTT admits the contents of Section 9(c) of the Addendum.

       33.     GTT denies, except GTT admits the contents of Section 3(a) of the Addendum.

       34.     GTT denies, except GTT admits the contents of Section 3(a) of the Addendum.

       35.     GTT denies, except GTT admits the contents of Section 3(d) of the Addendum.


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       36.     GTT denies, except GTT admits the contents of Section 3(g) of the Addendum.

       37.     GTT denies, except GTT admits the contents of Section 3(g) of the Addendum.

       38.     GTT admits that Section 3(e) of the Addendum exists and refers to the document for

its content; otherwise denied.

       39.     GTT denies, except GTT admits the contents of Section 3(g) of the Addendum.

       40.     GTT admits the document referenced exists and refers to the document for its contents

and Effective Date; otherwise denied.

       41.     GTT admits the document referenced exists and refers to the document for its

contents; otherwise denied.

       42.     GTT admits the document referenced exists and refers to the document for its

contents; otherwise denied.

       43.     GTT admits the document referenced and refers to the document for its contents;

otherwise denied.

       44.     GTT admits the document referenced exists and refers to the document for its

contents; otherwise denied.

       C.      GTT’s Abuse of its Agency Relationship

       45.     GTT denies the allegations.

       46.     GTT denies the allegations.

       47.     GTT lacks knowledge or information sufficient to form a belief about the truth of the

allegations.

       48.     GTT lacks knowledge or information sufficient to form a belief about the truth of the



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allegations.

       49.     GTT denies that it violates the GTAA and GTT otherwise lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations.

       50.     GTT denies that it actively helps its sub-agents hide the extra charge from consumers

using the “in-house charge” process and it violates the GTAA. GTT lacks knowledge or information

sufficient to form a belief about the truth of the remaining allegations.

       51.     GTT denies that it charges egregious “change fees” where no such fee is authorized

by American. GTT lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations.

       52.     GTT denies the allegations.

       53.     GTT denies the allegations.

       54.     GTT denies the allegation that GTT inflates the base fare of a ticket, and otherwise

lacks knowledge or information to form a belief about the truth of the remaining allegations.

       55.     GTT denies that it has engaged in prohibited practices. GTT lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations.

       56.     GTT denies that it has engaged in the alleged prohibit practice. GTT lacks knowledge

or information sufficient to form a belief about the truth of the remaining allegations.

       57.     GTT denies the allegations.

       58.     GTT denies, except that GTT admits that there are documents governing GTT-sub-

agents’ business relationship and refers to those documents for their contents.

       59.     GTT denies the allegation that it does not take steps to address any known booking

violations of third parties. GTT lacks knowledge or information sufficient to form a belief about the

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truth of the remaining allegations.

       60.     GTT denies the allegations.

       61.     GTT denies the allegations.

       62.     GTT denies that it has “no quality control” over sub-agents; there are limits to what

GTT can control, or is aware of, regarding its thousands of sub-agents but GTT does have quality

control measures. GTT lacks knowledge or information sufficient to form a belief about the truth of

the remaining allegations.

       63.     GTT denies the allegations.

       64.     GTT admits the documents as referenced exist and refers to those documents for their

contents; otherwise denied.

       65.     GTT admits the documents as referenced and refers to those documents for their

contents; otherwise denied.

       66.     GTT admits the allegations.

       67.     GTT denies the allegations.

       68.     GTT lacks knowledge or information sufficient to form a belief about the truth of the

allegations.

       69.     GTT lacks knowledge or information sufficient to form a belief about the truth of the

allegations.

       D.      American’s Valuable Trademarks

       70.     GTT admits the allegations.

       71.     GTT admits the allegations.



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       72.     GTT admits the allegations.

       73.     GTT admits the allegations.

       74.     GTT admits the allegations.

       75.     GTT admits the allegations.

       76.     GTT admits the allegations.

       77.     GTT admits the allegations.

       78.     GTT admits the allegations.

       79.     GTT denies that it is aware of sub-agents’ alleged prohibited activities and denies that

GTT “actively assisted sub-agents in issuing false and excessive charges to consumers.” GTT lacks

knowledge or information sufficient to form a belief about the truth of the remaining allegations.

       80.     GTT denies the allegations.

                                       V.     CLAIMS

                                     Count I Breach of GTAA

       81.     GTT denies the allegations.

       82.     GTT admits that the document referenced exists and refers to the document for its

contents; otherwise denied.

       83.     GTT denies the allegations.

       84.     GTT denies, except GTT admits the contents of Section 3.3 of the ARC ARA.

       85.     GTT denies it has engaged in unethical standards of business in breach of the GTAA

with American. GTT lacks knowledge or information sufficient to form a belief about the truth of

the remaining allegations.


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       86.     GTT denies, except GTT admits the contents of Section 3(g) of the Addendum.

       87.     GTT denies that it is routinely engaging in the prohibited abusive ticketing practices.

GTT lacks knowledge or information sufficient to form a belief about the truth of the remaining

allegations.

       88.     GTT admits the contents of Section 9(a) of the Addendum.

       89.     GTT denies, except GTT lacks knowledge or information sufficient to form a belief

about the truth of the allegations about any alleged sub-agents’ data misuse.

       90.     GTT denies, except GTT admits the contents of Section 3(d) of the Addendum.

       91.     GTT denies, except GTT lacks knowledge or information sufficient to form a belief

about the truth of its sub-agents charging large fees to consumers without their knowledge and/or

using other methods to hide their charges from consumers.

       92.     GTT denies, except GTT admits the contents of Section 3(g) of the Addendum.

       93.     GTT denies that it violates the GTAA by using its own credit card or other payment

method to pay for a consumers’ flight. GTT lacks knowledge or information sufficient to form a

belief about the truth of the remaining allegations.

       94.     GTT denies, except GTT admits Section 3(e) of the Addendum exists and refers to

the document for its content.

       95.     GTT denies the allegations.

       96.     GTT denies the allegations.

       97.     GTT denies, except GTT admits Section 3(e) of the Addendum exists and refers to

the document for its content.



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       98.     GTT denies the allegations.

       99.     GTT denies, except GTT admits the contents Section 4 of the Addendum.

       100.    GTT denies the allegations.

       101.    GTT denies the allegations.

       102.    GTT denies the allegations.

       103.    Paragraph 103 to Paragraph 129 are subject to GTT’s partial motion to dismiss. GTT

will admit or deny those allegations, if needed, after the Court rules on the Motion.

                                             ATTORNEY FEES

       104.    GTT denies the allegations in Paragraph 130.

       105.    GTT denies the allegations in Paragraph 131.

                           VI.      CONDITIONS PRECEDENT

       106.    GTT denies the allegations in Paragraph 132.

                             VII.    PRAYER FOR RELIEF

       107.    GTT denies that American is entitled to any of the relief it seeks.

                          VIII.     GTT’S AFFIMATIVE DEFENSES

       108.    American’s alleged claims are barred, in whole or in part, because American fails to

state a cause of action upon which relief can be granted.

       109.    American’s alleged claims are barred, in whole or in part, by failure to perform

conditions precedent.

       110.    American’s alleged claims are barred, in whole or in part, by supervening

impossibility and/or impracticability.

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       111.    American’s alleged claims are barred, in whole or in part, by accord and satisfaction.

       112.    American’s alleged claims are barred, in whole or in part, because the agreement

between American and GTT was modified and GTT complied with the terms of the modification.

       113.    American’s alleged claims are barred, in whole or in part, by estoppel.

       114.    American’s alleged claims are barred, in whole or in part, by waiver.

       115.    American’s alleged claims are barred, in whole or in part, by ratification.

       116.    American’s alleged claims are barred, in whole or in part, by release.

       117.    American’s alleged claims are barred, in whole or in part, by failure to mitigate its

damages.

       118.    American’s alleged claims are barred, in whole or in part, because the contractual

damages provision is an unenforceable penalty.

       119.    American’s alleged claims are barred, in whole or in part, because the sub-agents were

acting outside the scope of their authority.

                                                PRAYER

       WHEREFORE, GTT prays that this Court:

       (1) Enter a judgment against American on all its claims; and

       (2) Grant GTT such other and further relief, both at law and in equity, to which GTT may

           show itself to be justly entitled.




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DATE: September 22, 2023                              Respectfully submitted,
                                                      /s/ Andres Correa
                                                      Michael K. Hurst
                                                      Texas State Bar 10316310
                                                      mhurst@lynnllp.com
                                                      Andres Correa
                                                      Texas State Bar No. 24076330
                                                      acorrea@lynnllp.com
                                                      Michele H. Naudin
                                                      Texas State Bar 24118988
                                                      mnaudin@lynnllp.com
                                                      Zhenmian Xu
                                                      Texas State Bar 24135820
                                                      sxu@lynnllp.com
                                                      LYNN PINKER HURST & SCHWEGMANN LLP
                                                      2100 Ross Avenue, Suite 2700
                                                      Dallas, Texas 75201
                                                      (214) 981-3800 Telephone
                                                      (214) 981-3839 Facsimile




                                  CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the above instrument was electronically filed with the
Clerk of Court for the United States District Court, Northern District of Texas, Fort Worth Division
using the Case Management/Electronic Case Files system (CM/ECF). I certify that all counsel and
parties of record were served electronically or by another means authorized by Federal Rule of Civil
Procedure 5(b)(2) on September 22, 2023.

                                                              /s/ Andres Correa
                                                              Andres Correa




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